Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 1 of 34




                  Exhibit 14
   Case Case
        1:13-cv-08012-CM-DCF   Document138
             1:10-cv-04974-RJS Document 72-17   Filed
                                            Filed     02/14/18
                                                   12/01/14 PagePage  2 of 34
                                                                 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
GUCCI AMERICA, INC., BALENCIAGA
AMERICA INC., BALENCIAGA S.A., BOTTEGA
VENETA INTERNATIONAL S.A.R.L.,
BOTTEGA VENETA INC., LUXURY GOODS
INTERNATIONAL (L.G.L) S.A. and YVES SAINT
LAURENT AMERICA, INC.

                 Plaintiffs,
                                                                     2010 Civ. 4974 (RJS)
        -against-
                                                                     DECLARATION OF
WEIXING LI a/k/a XIN LI, LIJUN XU a/k/a JACK
                                                                     ROBERT L. WEIGEL
LONDON and TING XU a/k/a JACK LONDON
a/k/a XU TING a/k/a REBECCA XU, WENYING      .
GUO, XIAOCHAO SHANG, LEI XU, FENGYUAN:
ZHAO, LIQUN ZHAO, MING ZHAO, and             .
PEIYUAN ZHAO, all doing business as
REDTAGPARTY, MYLUXURYBAGS.COM,
KUELALA.COM, XPRESSDESIGNERS.COM,
XPRESSDESIGNER.NET, and DESIGNER
HANDBAGS; ABC COMPANIES;
and JOHN DOES,

                 Defendants.
-----------------------------------------------------------------X
        Robert L. Weigel hereby declares as follows:

         l.      I am a member of the bar of this Court and a partner of the law firm of Gibson,

Dunn & Crutcher LLP, counsel to Gucci America, Inc.; Balenciaga America Inc.; Balenciaga

S.A.; Bottega Veneta International S.a.r.l.; Bottega Veneta Inc.; Luxury Goods International

(L.G.I.) S.A.; and Yves Saint Laurent America, Inc. (collectively, "Plaintiffs"). I submit this

declaration in support of Plaintiffs' Motion for an Order Compelling Bank of China's Production

ofDocuments Requested in Plaintiffs' 2010 and 2011 Subpoenas.
  Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 3 of 34
        Case 1:10-cv-04974-RJS Document 138 Filed 12/01/14 Page 2 of 9




       2.     Attached as Exhibit I is a true and correct copy of a webpage from Bank of

China's website, "Bank of China (New York): FAQs," available at http://www.bocusa.com/

portai/Info?id=443&lang= I & (last visited November 25, 20 14).

       3.     Attached as Exhibit 2 is a true and correct copy of a document produced by

JPMorgan Chase Bank on February 25, 2011, which reflects a book transfer of USD $50,000,

made on December 24, 2009, from a Chase account ending in 1394 to the Bank of China Head

Office's Chase account ending in 5206 ("BOC's Chase Account"), listing Defendant Lei Xu and

a BOC account ending in 9584 as the beneficiary.

       4.     Attached as Exhibit 3 is a true and correct copy of a document produced by

JPMorgan Chase Bank on February 25, 2011, which reflects a book transfer of USD $50,000,

made on January 11, 2010, from a Chase account ending in 1394 to BOC's Chase Account,

listing Defendant Peiyuan Zhao and a BOC account ending in 3435 as the beneficiary.

       5.     Attached as Exhibit 4 is a true and correct copy of a document produced by

JPMorgan Chase Bank on February 25, 2011, which reflects a book transfer of USD $50,000,

made on January 14, 2010, from a Chase account ending in 1394 to BOC's Chase Account,

listing Defendant Xu Ting and a BOC account ending in 9538 as the beneficiary.

       6.     Attached as Exhibit 5 is a true and correct copy of a document produced by

JPMorgan Chase Bank on February 25, 20 I 1, which reflects a book transfer of USD $50,000,

made on March 16, 2010, from a Chase account ending in 1394 to BOC's Chase Account, listing

Defendant Liqun Zhao and a BOC account ending in 0343 as the beneficiary.




                                               2
  Case Case
       1:13-cv-08012-CM-DCF   Document 72-17 Filed 02/14/18 Page 4 of 34
            1:10-cv-04974-RJS Document 138 Filed 12/01/14 Page 3 of 9




       7.     Attached as Exhibit 6 is a true and correct copy of a document produced by

JPMorgan Chase Bank on February 25, 2011, which reflects a book transfer of USD $50,000,

made on March 19, 2010, from a Chase account ending in 1394 to SOC's Chase Account, listing

Defendant Wenying Guo and a BOC account ending in 9151 as the beneficiary.

       8.     Attached as Exhibit 7 is a true and correct copy of a document produced by

JPMorgan Chase Bank on January 26, 2011, which reflects a book transfer of USD $50,000,

made on June 10, 2010, from a Chase account ending in 6310 to SOC's Chase Account, listing

Defendant Fengyuan Zhao and a BOC account ending in 2443 as the beneficiary.

       9.     Attached as Exhibit 8 is a true and correct copy of a document produced by

JPMorgan Chase Bank on February 25, 2011, which reflects a book transfer of USD $30,000,

made on June 25, 2010, from a Chase account ending in 8289 to SOC's Chase Account, listing

Defendant Xin Li and a BOC account ending in 1235 as the beneficiary.

       10.    Attached as Exhibit 9 is a true and correct copy of a document produced by

JPMorgan Chase Bank on January 26, 2011, which reflects a SWIFT wire transfer of$50,000 on

June 30, 2009, from a Chase account ending in 8289 to BOC, naming Defendant Wenying Guo

and a BOC account ending in 9151 as the beneficiary.

       11.    Attached as Exhibit 10 is a true and correct copy of a document produced by

JPMorgan Chase Bank on January 26, 2011, which reflects a SWIFT wire transfer of$50,000 on

July 10, 2009, from a Chase account ending in 8289 to BOC, naming Defendant Ming Zhao and

a BOC account ending in 5923 as the beneficiary.




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  Case Case
       1:13-cv-08012-CM-DCF   Document138
            1:10-cv-04974-RJS Document 72-17   Filed
                                           Filed     02/14/18
                                                 12/01/14  PagePage
                                                                4 of 95 of 34




       t 2.    Attached as Exhibit t t is a true and correct copy of a document produced by

JPMorgan Chase Bank on January 26, 2011, which reflects a SWIFT wire transfer of$50,000 on

July 27, 2009, from a Chase account ending in 5867 to BOC, naming Defendant Liqun Zhao and

a BOC account ending in 0343 as the beneficiary.

       13.     Attached as Exhibit 12 is a true and correct copy of a document produced by

JPMorgan Chase Bank on February 25, 2011, which reflects a SWIFT wire transfer of $50,000

on October 19, 2009, from a Chase account ending in 8289 to BOC, naming Defendant Xiaochao

Shang and a BOC account ending in 0726 as the beneficiary.

       14.     In accordance with Fed. R. Civ. P. 5.2(a), the bank account numbers referenced in

Exhibits 2 through 12 above have been redacted so that only the last four digits are visible.

        15.    Attached as Exhibit 13 are true and correct copies of excerpts from BOC' s U.S.

Resolution Plan, dated December 31, 2013, the full version of which is also available at

http://www .federalreserve.gov/bankinforeg/resolution-plans/bk-of-china-3g-20 131231.pdf.

        16.    Attached as Exhibit 14 are true and correct copies of notices issued by the New

York City Department of Finance providing property values for real property in New York City

owned by BOC. These notices were obtained on November 25, 2014 through the Department of

Finance's online Property Address Search tool, http://webapps.nyc.gov:8084/CICS/fin 11

find001i.

        17.    Attached as Exhibit 15 is a true and correct copy of a list of mortgages on real

property in New York City held by BOC. This list was obtained on November 25, 2014 from the

New York City Department of Finance, Office of the City Register's online Automated City

Register Information System, http://a836-acris.nyc.gov/CP/.




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  Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 6 of 34
           Case 1:10-cv-04974-RJS Document 138 Filed 12/01/14 Page 5 of 9




          18.      Attached as Exhibit 16 is a true and correct copy of a webpage from Bank of

China's website, "Custodian Business," available at http://www.bankofchina.com/us/en/clearing/

20131 O/t20131024_2733238.html (last visited November 25, 2014).

         19.       Attached as Exhibit 17 is a true and correct copy of a webpage from Bank of

China's         website,   "Bank    of   China    (New     York):   Introduction,"   available   at

http://www.bocusa.com/portal/lnfo?id=805&lang=l& (last visited November 25, 2014).

         20.       Attached as Exhibit 18 are true and correct copies of excerpts from the Clearing

House Interbank Payment System's ("CHIPS") "Self-Assessment of Compliance with Core

Principles for Systematically Important Payment Systems," a full version of which is also

available at https://www.chips.org/docs/033915.pdf.

         21.       Attached as Exhibit 19 is a true and correct copy of the Federal Financial

Institution Examination Council's "FFIEC IT Examination Handbook-CHIPS," available at

http://ithandbook.ffiec.gov/it-booklets/wholesale-payment-systems/interbank-payment-and-

messaging-systems/fedwire-and-c tearing-house-interbank-payments-system-(chips)/ch ips.aspx

(last visited November 25, 2014).

         22.        Attached as Exhibit 20 is a true and correct copy of a webpage from the Board of

Governors of the Federal Reserve System's website, "Fedwire Funds Services," available at

http://www.federalreserve.gov/paymentsystems/fedfunds_about.htm (last visited November 25,

2014).

         23.       Attached as Exhibit 21 are true and correct copies of excerpts from the Federal

Reserve Bank Services' "Federal Reserve Banks Operating Circular No. 6: Funds Transfers

Through the Fedwire Funds Service," a full version of which is also available at

https://www.frbservices.org/files/regulations/pdf/operating_circular_6_ 071220 12.pdf.




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  Case 1:13-cv-08012-CM-DCF
       Case 1:10-cv-04974-RJS Document  72-17Filed
                              Document 138       Filed 02/14/18
                                                    12/01/14    Page
                                                             Page 6 of 7
                                                                       9 of 34




        24.    Attached as Exhibit 22 is a true and correct copy ofthe Federal Deposit Insurance

Corporation's demographic information report for BOC, available at https://www2.fdic.gov/

idasp/confirmation_outside.asp?inCertl =33653       (follow "More    Demographic     Information"

hyperlink) (last visited November 25, 2014).

        25.    Attached as Exhibit 23 is a true and correct copy of an excerpt from the Federal

Reserve Bank Services' "Federal Reserve Banks Operating Circular No. 1: Account

Relationships," a full version of which is also available at https://www.frbservices.org/files/

regulations/pdf/operating_circular_!_020120 13.pdf.

        26.    Attached as Exhibit 24 is a true and correct copy of an excerpt from the Federal

Reserve Bank Services' "Foreign Banking Institution Account Agreement," a full version of

which is also available at https://www.frbservices.org/files/forms/account_services/pdf/foreign_

bankboard_resolutions_authorizedapprover_package. pdf.

        27.    Attached as Exhibit 25 is a true and correct copy of an excerpt from BOC's "Bank

of China Internet Banking Service (BOCNET) Customer Service Agreement," a full version of

which     is      also   available    at    http://pic.bankofchina.com/bocappd/america/20 1306/

P020130603315059674922.pd(

        28.    Attached as Exhibit 26 is a true and correct copy of an excerpt from the Federal

Reserve Bank Services' "Resolutions Authorizing a Foreign Banking Institution to Open and

Maintain Accounts," a full version of which is also available at https://www.frbservices.org/files/

forms/account_ services/pdf/foreign_bankboard_resolutions_authorizedapprover_package. pdf.

        29. Attached as Exhibit 27 is a true and correct copy of a webpage from Wikipedia, "List

ofrenminbi exchange rates," available at http://en.wikipedia.org/wiki/List_of_renminbi_

exchange_rates.




                                                6
  Case Case
       1:13-cv-08012-CM-DCF   Document138
            1:10-cv-04974-RJS Document 72-17Filed
                                                Filed 02/14/18
                                                   12/01/14    Page
                                                            Page 7 of 8
                                                                      9 of 34




       30.    Attached as Exhibit 28 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCI000034, along with a certified

translation of that document. This exhibit reflects a withdrawal of USD $49,975.00 on July 9,

2007 out ofthe BOC account ending in 2443.

       31.    Attached as Exhibit 29 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCI000051, along with a certified

translation of that document.   This exhibit reflects a withdrawal of USD $49,987.13 on

September 27, 2007 out ofthe BOC account ending in 1235.

       32.    Attached as Exhibit 30 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCI000041, along with a certified

translation ofthat document. This exhibit reflects a withdrawal ofUSD $49,999.48 on February

27, 2008 out of the BOC account ending in 2443.

       33.    Attached as Exhibit 31 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCI000047, along with a certified

translation of that document. This exhibit reflects a withdrawal of USD $1,743.51 on March 2,

2008 out ofthe BOC account ending in 2443.

       34.    Attached as Exhibit 32 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCI000060, along with a certified

translation of that document. This exhibit reflects a withdrawal of USD $49,993.08 on March

25, 2008 out of the BOC account ending in 1235.




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  Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 9 of 34
         Case 1:10-cv-04974-RJS Document 138 Filed 12/01/14 Page 8 of 9




       35.     Attached as Exhibit 33 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCl000006, along with a certified

translation of that document. This exhibit reflects a withdrawal of USD $50,000.00 on March

14, 2009 out ofthe BOC account ending in 2443.

       36.     Attached as Exhibit 34 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCClOOOOOl, along with a certified

translation ofthat document. This exhibit reflects a withdrawal ofUSD $40,000.00 on April 13,

2009 out of the BOC account ending in 1235.

       37.     Attached as Exhibit 35 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCI000014, along with a certified

translation of that document. This exhibit reflects a withdrawal of USD $50,000.00 on June 18,

2010 out ofthe BOC account ending in 2443.

       38.    Attached as Exhibit 36 is a true and correct copy of a document produced by BOC

on September 22, 2011 bearing the Bates stamp BOC-GUCCI000017, along with a certified

translation of that document. This exhibit reflects a withdrawal of USD $30,000.00 on June 28,

20 I 0 out of the BOC account ending in 1235.

       39.     In accordance with Fed. R. Civ. P. 5.2(a), the bank account numbers referenced in

Exhibits 28 through 36 above have been redacted so that only the last four digits are visible.

       40.    Attached as Exhibit 37 is a true and correct copy ofthe July 16, 2010 Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil

Action, with which BOC was served pursuant to Fed. R. Civ. P. 45.




                                                 8
 Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 10 of 34
         Case 1:10-cv-04974-RJS Document 138 Filed 12/01/14 Page 9 of 9




       41.     Attached as Exhibit 38 is a true and correct copy of the February 23, 2011

Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in

a Civil Action, with which BOC was served pursuant to Fed. R. Civ. P. 45.


I hereby declare, under penalty of perjury, that the foregoing is true and correct.


Dated: New York, New York
       December 1, 2014
                                                                Is/ Robert L. Weigel
                                                                  Robert L. Weigel




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Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 11 of 34
    Case 1:10-cv-04974-RJS Document 138-1 Filed 12/01/14 Page 1 of 4




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                              1:13-cv-08012-CM-DCF   Document 72-17 Filed12/01/14
                                   1:10-cv-04974-RJS Docu~l\ltQtl®S~ew~d  02/14/18Page
                                                                                    Page  124 of 34
                                                                                       2 of

                                                                                          Horne Personal Banking Corporate Banking Financial Institutions Contact Us               B Q CUS A
                                                •   Home> Financial Institutions >Remittance> F AQs


     Personal Customer
                                                    How to conduct a USD remittance via Bank of China New York Branch?
     Business Customer

                                                    Bank of China New York Branch (BOCNY) is a real time on-line member bank of the two major payment systems in the U.S.-
     GWS
                                                    -CHIPS and FEDWIRE. With the advantage of broad network of oversea branches and global correspondent banks, BOCNY
                                                    is not only the principal U.S. dollar clearing channel of Bank of China Group worldwide, but also the No. 1 choice of U.S.
                      --~ ·~ :
              : • l              : ; ; : •. •
                                                    dollar wire transfers to and from China by many financial institutions. corporations and individuals.
   Correspondent Banking                            With years of great efforts on clearing business, BOCNY has developed its own prior clearing system GPS (Global Payment
                                                    System) which process payment automatically, and formed an experienced expert team. With customers' satisfaction at the
  Treasury Service
                                                    center of everything we do, we are striving to provide you with fast and secure wire transfer solutions.
   U.S Dollar Account Opening
                                                    Clear and efficient instruction will avoid unnecessary delay and unexpected charges, in order payee get the funds on time, you
   U.S.D. Clearing Services                         may refer to following notes and examples of MT103, MT202 to and from China.

                                                    In a qualified payment order, it should include the following information:
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  • Services & Products                                  Field 50 the ordering customer information
  • FAQs
                                                         Field 53 correspondent bank for ordering institution
  ·Contact Us
                                                         Field 56 intermediary bank (here Bank of China, New York Branch)
  Trade Service
                                                         Field 57 beneficiary bank details (You may use BIC Code, English full name and address in case our operator handles the
        Other Branches                                   unqualified payment)

             Links                                       Field 58 or 59 beneficiary information

                                                         Inward CTo China) Remittance-- MT1031CTR/SN ·

                                                         Inward CTo Chinal Remittance-- MT2021BTR/SB

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                                                         Outward (From China! Remittance-MT2021BTRISB

                                                    FAQs in Remittance

                                                         Inward (To China) Remittance--·· MT103/CTR/SN
                                                         If your clients open an account with Bank of China or any major banks in China, you can advise your bank (remitting
                                                         bank) to choose BOCNY as intermediary bank (SWIFT: BKCHUS33). We will transfer funds to correct bank at the very
                                                         first second. Our payment system will process qualified payments automatically, for unqualified payments; our
                                                         experienced operators will handle the payment as per the original payment order.


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11/25/2014               Case 1:10-cv-04974-RJS                           Docu~Jiltc.b~(!tew~d                        12/01/14 Page 3 of 4



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                                        PAYMENT and payment for L/C AND COLLECTION
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                                        COLLECTION, Please quote related reference, for many institutions of Bank of China, the reference usually start with
                                        'BP" or"OC".


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                Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 14 of 34
11/25/2014                 Case 1:10-cv-04974-RJS Docui¥tre:AtCl'~~ ~d 12/01/14 Page 4 of 4
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                                               ,_,. ._. . -t-----..-·-·-·-..--+-..
                                               53a         :Sender's Cmrespondent      :XXXXCNXX
                                                                                           ·--··-·-------+1- - - -
                                               56A         !Intermediary Institution   ·sKCHUSJJ                       'llf the receiver of the Swift is not Bank of China,
                                                          _L_                                                           NewYork

                                               ~;~-~·--~CT wit~=~:~                        ~~~~~~~~   .. _ _ _ _                    -----..                .._-....·---


                                               58a         !Beneficiary Institution    IBIC CODE

                                                                                                                       !The presen~e  of this field will in mostca~~~
                                                                                                                                                                   ..
                                                                                                                       !require manual intervention. Accepted codes
                                                                                                                       ·are:
                                               72          [sender to Receiver info.   [/ACC/XXX Branch                 /ACC//BNF//INS//INT//PHON//PHONBEN/
                                                                                                                       1/PHONIBK//REC//TELE//TELEBEN//TELEIBK/
                                                                                                                        /CLSTIME/ Codes apart from the above will be
                                                                                                                        subject to charges.




         Disclaimer I Privacy Polley I Tenns and Conditions I Security Alert I


 Member FDIC- ~Equal Housing Lender




http://www .bocusa.com/portalllnfo?id=443&1ang= 1&                                                                                                                            313
Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 15 of 34
    Case 1:10-cv-04974-RJS Document 138-2 Filed 12/01114 Page 1 of 2




                      Exhibit 2
   Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 16 of 34
Related Q~as~~~()>.cv-04974-RJS Document 138-2 Filed 12/01/14 Page 2 of 2 Page 2 of3


       PAYMENT TRANSACTION                                     TRANSACTION REFERENCE :               0394500358ES

        AMOUNTS & DATES
                         Amount:      50,000.00/USD
                 Comm Charges:                                        PreAdvice Charges:
               Debit Value Date :     12/24/2009                          Credit Value Date:   12/24/2009
               Transaction Date:      12/24/2009                               Original Date   12/24/2009
        PARTY DATA
                                                                                            BANK OF CHINA HEAD
    Debit Party:                      TING XU            Credit Party:
                                                                                            OFFICE
                                       8823 SPECTRUM         ID: -                             NO 1 FUXINGMEN NEI
      ID:                      1394    CENTER BLVD APT                               5206
                                                                                               DAJIE
          - ..394                                                                              BEIJING CHINA
    Acct: -                            2113                Acct : - 5 2 0 6
                                                                                               100818
                                       SAN DIEGO, CA
   Code:                                                  Code:      CHINHEADBEIJI
                                       921231479
   Entity:    01                                         Entity:     01
    Sending Bank:                                        Receiving Bank:
        ID:                                                  ID :
      Acct:                                                Acct:
     Code:                                               Code:
    Entity:                                              Entity :
    Order Customer:                                      Beneficiary Bank:                  BANK OF CHINA
                                                                                            BEIJING BRANCH
                                                                                            OONGANMEN DAJIE 19
                                                                                            BEIJING CHINA


    Order Bank:                                          Beneficiary:
                                                                                            LEI XU




   Fourth Credit Party:




       REFERENCES

                             TRN:     0394500358ES            Transaction      BOOKTR
                                                                   Type:
                          Branch:                                FXAC:
                   Payment Type :     BT                   COVER PYMT:
               Instruction Type:      DCI                    Fed IMAD:
                           OMAD:
                                                              Transaction
                 Check Number:                                                 80
                                                                  Status:
                                                          CHIPS Receive
                      Chips SSN:
                                                                  Seq:
                                                                   Credit
               Debit Reference:       DCI OF 09/12/24          Reference:      DCI OF 09 I 12/24
             Details of Payment :                         Bank To Bank:
                   Debit St lnst. :                       Credit St In st.:

      ADDITIONAL INFO




http://prpc.jpmorgan.com/USDprweb/SSO/Gz3JJrF15nA%5B*/!STANDARD?pyPrimary...                                2/18/20 11
Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 17 of 34
    Case 1:10-cv-04974-RJS Document 138-3 Filed 12/01/14 Page 1 of 2




                      Exhibit 3
   Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 18 of 34
Related QQJ<xsERt$li,Oscv-04974-RJS Document 138-3 Filed 12/01/14 Page 2 of 2 Page 2 of 3


       PAYMENT TRANSACTION                                     TRANSACTION REFERENCE:              1179300011ES

        AMOUNTS&. DATES
                           Amount:     50,000.00/USD
                 Comm Charges:                                           PreAdvice Charges:
               Debit Value Date:       1/11/2010                         Credit Value Date:    1/11/2010
               Transaction Date:       1/11/ 2010                             Original Oate    1/11/2010
        PARTY DATA
                                                                                         BANK OF CHINA HEAD
    Debit Party:                       TING XU            Credit Party:
                                                                                         OFFICE

       ID . . • • • • • •1394           8823 SPECTRUM         ID: • • • • • •5206             NO 1 FUXINGMEN NEI
                                        CENTER BLVD APT                                       DAJIE
                                                                                              BEIJING CHINA
    Acct: • • • 1394                    2113                Acct : • • •5206
                                                                                              100818
                                        SAN DIEGO, CA
   Code:                                                   Code:    CHINHEADBEIJI
                                        921231479
   Entity:     01                                         Entity:   01
    Sending Bank:                                         Receiving Bank:
        ID:                                                  ID :
      Acct :                                               Acct:
     Code:                                                Code:
    Entity:                                               Entity:
    Order Customer:                                       Beneficiary Bank:              BANK OF CHINA
                                                                                         BEIJING BRANCH
                                                                                         DONGANMEN DAJIE 19
                                                                                         BEIJING CHINA


    Order Bank:                                           Beneficiary:
                                                                                         PEIVUAN ZHAO




   Fourth Credit Party:




       REFERENCES
                                                              Transaction
                              TRN:     1179300011ES                           BOOKTR
                                                                   Type:
                           Branch:                                  FXAC:
                    Pa yment Type:     BT                   COVER PYMT:
               Instruction Type:       DCI                     Fed !MAD :
                            OMAD:
                                                              Transaction
                 Check Number :                                               80
                                                                  Status:
                                                           CHIPS Receive
                       Chips SSN:
                                                                   Seq:
                                                                    Credit
               Debit Reference:        DCI OF 10/01/11         Reference:     DCI OF 10/01/11
             Details of Payment:                           Bank To Bank :
                    Debit St In st.:                      Credit St Inst.:

      ADDITIONAL INFO




http://prpc.jpmorgan.com/USDprweb/SSO/Gz3JJrF15nA%5B*/!STANDARD?pyPrimary...                               2/1 8/2011
Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 19 of 34
    Case 1:10-cv-04974-RJS Document 138-4 Filed 12/01/14 Page 1 of 2




                      Exhibit 4
   Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 20 of 34
Related Q~t}S8.e$m~cv-04974-RJS Document 138-4 Filed 12/01/14 Page 2 of 2 Page 2 of 3


       PAYMENT TRANSACTION                                     TRANSACTION REFERENCE:             0059700014ES

        AMOUNTS & DATES
                           Amount:     50,000.00/USD
                 Comm Charges:                                           PreAdvice Charges:
               Debit Value Date:       1/ 14/2010                        Credit Value Date:    1/14/2010
               Transaction Date:       l/14/2010                              Original Date    1/14/2010
        PARTY DATA




                                                              ID:--
                                                                                          BANK OF CHINA HEAD
     Debit Party:                      TING XU            Credi t Party:
                                                                                          OFFICE
               • • • • •1394            8823 SPECTRUM                                         NO 1 FUXINGMEN NEI
      ID : •                            CENTER BLVD APT                            5206
                                                                                              DAJIE
                                                                                              BEIJING CHINA
    Acct : • • •1394                    2113                Acct:· · · l s 2 0 6              100818
                                        SAN DIEGO, CA
   Code:                                                   Cod e:   CHINHEADBEUI
                                        921231479
   Entity:     01                                         Entity:   01
    Sending Bank:                                         Receiving Bank:
        ro :                                                 ID:
      Acct:                                                Acct:
     Code:                                                Code :
    Entity:                                               Entity:
    Order Customer:                                       Beneficiary Bank:               BANK OF CHINA
                                                                                          BEIJING BRANCH
                                                                                          DONGANMEN DAJIE 19




                                                                                          ..
                                                                                          BEIJING CHINA



                                                                                               ~~···9536
    Order Bank:                                           Beneficiary:
                                                                                          XU TING




    Fourth Credit Party:




       REFERENCES
                                                              Transaction
                              TRN:     0059700014ES                           BOOKTR
                                                                   Type:
                           Branch:                                  FXAC:
                    Payment Type:      BT                   COVER PYMT:
               I nstruction Type:      DCI                     Fed I MAD :
                            OMAD :
                                                              Transaction
                 Chec k Number:                                               80
                                                                  Status:
                                                           CHIPS Receive
                       Chips SSN :
                                                                   Seq:
                                                                    Credit
               Debit Reference:        DCI OF 10/01/14         Reference :    DCI OF 10/01/14
             Details of Payment:                           Bank To Bank:
                    Debit St I nst.:                      Credit St In st.:

      ADDITIONAL INFO




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Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 21 of 34
    Case 1:10-cv-04974-RJS Document 138-5 Filed 12/01/14 Page 1 of 2




                      Exhibit 5
   Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 22 of 34
Related Q~~dstUt&cv-0497 4-RJS Document 138-5 Filed 12/01/14 Page 2 of 2 Page 2 of 3


       PAYMENT TRANSACTION                                       TRANSACTION REFERENCE :             1282500075ES

        AMOUNTS & DATES
                       Amount:           50,000.00/USD
                  Comm Charges:                                            PreAdvice Charges:
                Debit Value Date:        3/16/2010                          Credit Value Date:    3/16/2010
                Transact ion Date:       3/16/2010                               Original Date    3/16/2010
        PARTY DATA
                                                                                            BANK OF CHINA HEAD
     Debit Party:                        TING XU            Credit Party:
                                                                                            OFFICE

       ID :   1111111111 1394             8823SPECTRUM
                                          CENTER BLVD APT      ID :   .lllllllls206              NO 1 FUXINGMEN NEI
                                                                                                 DA liE
                                                                                                 BEIJING CHINA
     Acct :· · · · 1 3 9 4                2113               Acct: lllllls206
                                                                                                 100818
                                          SAN DIEGO, CA
    Code:                                                    Code:    CHINHEADBEIJI
                                          921231479
   Entity :    01                                           Entity:   01
     Sending Bank:                                          Receiving Bank:
        I D:                                                   ro:
      Acct:                                                  Acct :
     Code:                                                  Code:
    Entity:                                                 Ent ity:
    Order Customer:                                         Beneficiary Bank:               BANK OF CHINA
                                                                                            BEIJING BRANCH
                                                                                            DONGANMEN DAJIE 19
                                                                                            BEIJING CHINA


    Order Sank:                                             Beneficiary:                                           343
                                                                                            LIQUN ZHAO




    Fourth Credit Party:




        REFERENCES

                               TRN ;     128250007SES           Transaction      SOOKTR
                                                                     Type:
                          Branch:                                   FXAC :
                  Payment Type :         BT                   COVER PYMT:
                Instruction Type :       DCI                     fed IMAD :
                             OMAD:
                                                                Transaction
                  Check Num ber:                                                 80
                                                                    Status:
                                                             CHIPS Receive
                       Ch ips SSN :
                                                                     Seq :
                                                                      Credit
                Debit Refer ence :       DCI OF 10/03/16         Reference :     DCI OF 10/03/16
              Details of Payment :                           Ban k To San k :
                    Debit St In st . :                      Cred it St Inst .:

      ADDITIONAL INFO




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Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 23 of 34
    Case 1:10-cv-04974-RJS Document 138-6 Filed 12/01/14 Page 1 of 2




                      Exhibit 6
   Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 24 of 34
Related Que~~tkt1lf&cv-0497 4-RJS Document 138-6 Filed 12/01/14 Page 2 of 2 Page 2 of 3


       PAYMENT TRANSACTION                                      TRANSACTION REFERENCE:              0264000078ES

        AMOUNTS & DATES
                      Amount :         50,000.00/USD
                 Comm Charges:                                             PreAdvice Charges:
               Debit Value Date :      3/19/2010                           Credit Value Date:    3/19/2010
               Transaction Date:       3/19/2010                                Original Date    3/19/2010
        PARTY DATA

     Debit Party:                                                                          BANK OF CHINA HEAD
                                       TING XU            Credit Party:
                                                                                           OFFICE

      ID :   11111111111394             8823SPECTRUM
                                        CENTER BLVD APT
                                                              10:    IIIIIIIIIF206              NO 1 FUXINGMEN NEI
                                                                                                DAJIE

    Acct: • • • •1394                   2113                Acct:    1111.5206                  BEIJING CHINA
                                                                                                100818
                                        SAN DIEGO, CA
    Code:                                                  Code:      CHINHEADBEIJI
                                        921231479
   Entity:     01                                         Entity:     01
    Sending Bank:                                         Receiving Bank:
        ID :                                                ID :
      Acct :                                               Acct :
     Code:                                                Code:
    Entity:                                               Entity :
    Order Customer:                                       Beneficiary Bank:                BANK OF CHINA
                                                                                           BEIJING BRANCH
                                                                                           DONGANMEN DAJIE 19
                                                                                           BEIJING CHINA


    Order Bank:                                           Beneficiary:                    • • • • •9151
                                                                                           WENYINGGUO




    Fourth Credit Party:




       REFERENCES

                              TRN ;    0264000078ES            Transaction     BOOKTR
                                                                    Type:
                          Branch:                                     FXAC:
                    Pay ment Type :    BT                   COVER PYMT:
               Instruction Type:       DCI                    Fed IMAD:
                            OMAD:
                                                               Transaction
                 Check Number:                                                  80
                                                                   Status:
                                                           CHIPS Receive
                       Chips SSN:
                                                                    Seq :
                                                                  Credit
               Debit Reference :       DCI OF 10/03/19        Reference :      DCI OF 10/03/19
             Details of Payment:                           Bank To Bank :
                    Debit St In st.:                      Credit St In st. :

      ADDITIONAL INFO




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Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 25 of 34
    Case 1 :10-cv-0497 4-RJS Document 138-7 Filed 12/01/14 Page 1 of 2




                       Exhibit 7
   Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 26 of 34
Related Qu~~ekrtfJ-cv-04974-RJS Document 138-7 Filed 12/01/14 Page 2 of 2 Page 2 of 3



     PAYMENT TRANSACTION                                         TRANSACTION REFERENCE:             1302300161ES

       AMOUNTS&. DATES
                      Amount:         50,000.00/USD
              Comm Charges:                                                PreAdvice Charges:
             Debit Value Date:        6/10/2010                            Credit Value Date:    6/10/2010
             Transaction Date:        6/10/2010                                 Original Date    6/10/2010
      PARTY DATA
                                      TING XU DBA TING XU                                  BANK OF CHINA HEAD
    Debit Party:                                            Credit Party:
                                      REDTAGPARTY                                          OFFICE
                                       8823 SPECTRUM
     ID :   11111111116310             CENTER BLVD APT          ID:   llllllllll5206            NO 1 FUXINGMEN NEI
                                                                                                OAJIE
                                       2113
                                       SAN DIEGO, CA                                            BEIJING CHINA
   Acct:    1111116310                 921231479              Acct:IIII.S206                    100818
  Code:                                                      Code:    CHINHEADBEIJI
  Entity:    01                                             Entity:   01
    Sending Bank:                                           Receiving Bank:
       ID:                                                     ID:
    Acct:                                                    Acct:
   Code:                                                    Code:
   Entity:                                                  Entity:
    Order Customer:                                         Beneficiary Bank:              BANK OF CHINA
                                                                                           19 DONG AN MEN
                                                                                           STREET
                                                                                           BEIJING CHINA



    Order Bank:                                             Beneficiary:                  . . . . . . . . .2443
                                                                                           FENGYUAN ZHAO




   Fourth Credit Party:




       REFERENCES
                                                                Transaction
                             TRN:     1302300161ES                              BOOKTR
                                                                     Type :
                          Branch:                                      FXAC:
                  Payment Type:       BT                      COVER PYMT:
              Instruction Type:       OCI                       Fed IMAD:
                         OMAD:
                                                               Transaction
                  Check Number:                                                 80
                                                                   Status :
                                                             CHIPS Receive
                      Chips SSN:
                                                                     Seq:
                                                                     Credit
              Debit Reference:        DCI OF 10/06/10                           DCI OF 10/06/10
                                                                Reference:
            Details of Payment:                              Bank To Bank :
                   Debit St Inst. :                          Credit St Inst.:




http://prpc.jpmorgan.com!USDprweb/SSO/Gz3JJrF15nA%5B*/!STANDARD?pyPrimary. ..                                   1/19/201 1
Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 27 of 34
    Case 1:10-cv-04974-RJS Document 138-8 Filed 12/01114 Page 1 of 2




                      Exhibit 8
   Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 28 of 34
               Case 1:10-cv-04974-RJS Document 138-8 Filed 12/01/14 Page 2 of 2
Related Query Results                                                                                   Page 2 of3


       PAYMENT TRANSACTION                                    TRANSACTION REFERENCE:            0157500176ES

        AMOUNTS & DATES
                        Amount:      30,000.00/USD
                 Comm Charges:                                        PreAdvice Charges :
               Debit Value Date:     6/25/2010                         Credit Value Date:   6/25/2010
               Transaction Date: 6/25/2010                                  Original Date   6/25/2010
        PARTY DATA
                                                                                       BANK OF CHINA HEAD




      IO:·-·
    Debit Party:                     TING XU             Credit Party:
                                                                                       OFFICE
                                      8690 AERO DR STE                                  NO 1 FUXINGMEN NEI
                              8289
                                      115-231                ro : lllllllllll~szoG      DAJIE
                                      SAN DieGO, CA                                     BEIJING CHINA
    Acct:IIIIIIIB289                  921231757
                                                           Acct:lllllllszo6             100818
    Code:                                                 Code: CHINHEAOBEIJI
   Entity: 01                                            Entity: 01
    Sending B11nk:                                       Receiving Bank:
      10 :                                                 10:
      Acct:                                               Acct:
     Code:                                               COde:
    Entity:                                              Entity:
    Order Customer:                                      Beneficiary Bank:             BANK OF CHINA
                                                                                       19 DONG AN MEN
                                                                                       STREET
                                                                                       BEDING CHINA




    Order Bank:                                          Beneficiary:
                                                                                      ~XIN LI




    Fourth Credit Party:




       REFERENCES

                            TRN: 0157600176ES                Transaction    BOOKTR
                                                                   Type:
                         Branch:                                 FXAC:
                 Payment Type:       BT                    COVER PYMT:
               Instruction Type:    DCI                       Fed IMAD:
                         OMAD:
                                                             Transaction
                 Check Number:                                              80
                                                                 Status:
                                                          CHIPS. Receive
                     Chips SSN;
                                                                    Seq:
               Debit Reference:     DCI OF 10/06/25               Credit DCI OF tOi06/25
                                                              Reference: ·
             Details of Payment:                         Bank To Bank:
                  Debit St rnst.:                        Credit St lnst.:




http ://prpc.jpmorgan.com/USDprweb/SSO/Gz3JJrF15nA%5B*/!STANDARD?pyPrimary...                           2/J 4/201 I
Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 29 of 34
    Case 1:10-cv-04974-RJS Document 138-9 Filed 12/01/14 Page 1 of 4




                       Exhibit 9
           Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 30 of 34
Related Query ft~~tJ- : 10-cv-04974-RJS Document 138-9 Filed 12/01/14 Page 2 qf~e 1 of 3



        Funds Transfer Sc;reen

 SENDER'S rD :        • • •8289
 TRAN REF#:           20090630-00000317


 *** "' MESSAGE ENVELOPE ****                     (BANK: 002)
                                          SND DATE: 09/06/ 30
 SRC :                 VB4       CALLER:

 RPT# :                          AMT:
                                              so,ooo.oo I
                                              USD
 TYP:                  fTRI      FNDS :       s
 DB:                   y         CD :         y
 COM:                  N         CBL:         I
                                 FED
 FED IMAD:
                                 OMAD:




                                 COT:                    23
 DBT: IIIIIIII8289
                                  ADV:S.W.I.F.T.
 DEBIT VAL: 09/06130             CREDIT VAL: 09106130
 TING XU                         JPMC USD INTL WIRES
 8823 SPECTRUM CENTER
                                 1301 SECOND AVE
 BLVD APT 2113
 SAN DIEGO CA 92123-
                                 SEATTLE WA 98101
 1479



 SEND:    I                      INTER BK:    I
 SNDR REF
 NUM:3753535120835


                                 BNF BANK: S I
 ORDERING BANK:         I        BKCHCNBJ110
                                 BANK OF CHINA
                                 BEIJING CN



                                 BNF:/
 ORIG:    I
                                 illiillllllll9151
 TING XU                         GUO, WENYING
 8823 SPECTRUM CENTER            BEIJING CN
 BLVD APT 2.113
 SAN DIEGO CA
 921231479



 BEN TO BNK INFO: WFC/           ORIG TO BNF INFO:



              l   *FTR0000000217VB0 00141237535351000NRP        OOOOOOOSOOOO.OOSFTR   002NN
              2   2FTR                               BEN
              3   4FTR
              4   ORG"'
              5   -TING XU
              6   -8823 SPEC'l'RUM CENTI!:R Bl.VI) APT 2113
              7   -SAN DIZGO CA 921231479




http://prpc.jpmorgan.com/USDprweb/SSO/Gz3JJrF15nA%5B*/ !STANDARD?pyPrimary...                 1/19/2011
           Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 31 of 34
Related Query ft€s'&fftJ.:10-cv-04974-RJS Document 138-9 Filed 12/01/14 Page 3 qtaie 2 of3



            9      SRP=3753S35120835
            9      DB~•        8289
           10      BBI=Wl"C/
           11      IBK=S/CHASUS33
           12      BBK=S/BKCHCNBJ110
           13      -BANK OP CHINA
           14      -BEIJING CN ICN
           15      BNP~                     9151
           16            WENYING
                   -G!JO I
           17      -BEIJING CN ICN

            1      ::103
            2      :20:2009063000000317
            3      :23B:CRED
            4      : 32A:090630~SD50000 ,
            5      :33B:~SD50000,
            6       : SOK:          8289
            7      'riNG xt1
            8      8823 SPEC'l'RUM Cl!:NTER BLVD Al''r 2113
            9      SAN DIEGO CA 921231479
           10       :57A:Bli:CHCNBJ110
           11       :59:                  9151
           12      GUO 1 WENYING
           13      BEIJING CN
           14       :71A:BEN
           15       :71F:'O'SDO,
           16       : 72 : / ACC/WFC/

   0001    0000          REF         REF_INDEX      30-JON-2009 07:26:27.06
   0002    0000          LIN    002  VB4_IN sEQ:0000217 30-JUN-2009 07:26:27.05 External system reference: VB00014:
   0003    0000          QUE    002  CMS_MAPQ
   0004    0000          MEM    002  *SYS_MEMO       *AU'l'OTRIEVE ADR V name & address - DB'r acct. - - - 6 2 8 9
   0005    0000          QUE    002  SYS_MEMO       *CVD : 94 DVD : 94 PSD : 98 SSD:99 DBD : 1 CBD : 1
   0006    o·ooo         MEM    002  *sYS_MEMO      30-JUN-2009 07:27 : 09.68 Btop_Check msg routed to EXTERNAL STOP SE~
   0007    0000          HEM    002  *SYS_HEMO       *MRH/*MR/CMS/        I /$$$CMS
   0008    0000          GEN         NOl"_ACC_mlX        DBT              8289
   0009    0000          BAL    002 *GL_INQ_CD'l'
   0010    0000          QUE    002 *ADRJ!SG_QUE          CD'r/48399
   0011    0000          QUE    002 l!'IRCO_O~Q
   0012    0000          QUE    002 FIR_PNDOLVQ
   0013    0000          GEN    002 FIR1_SRF         300000031 7000373
   0014    0000          LIN    002 FIRl_OU'l' SEQ : 0000373 30-JUN-2009 07:27 : 11.05
   0015    0000          LIN    002 FIRl_ SND SEQ:0000373 30-JUN-2009 07:27:11.05
   0016    0000          LIN    002 II'IR1_RCV SEQ:0000374 30-JUN- 2009 07 : 29 : 26.35
   0017    0000          MEM         *SYS_MEMO       OFISRV
   0018    0000          MEM         *SYS_MEMO       NO HIT
   0019    0000          MEM         *SYS_MEMO       -----PDO NOT GO TO THE FRONT END.
   0020    0000          QUE    002 DD~A'O'TQ
   0021    0001          QUE         *OST
   0021    0002          QUE    002 RGW_OU'l'Q
   0021    0003          GEN    002 RGW_SRF         3000000317000969
   0021    0004          LIN    002 RGW_OU'l' SEQ:0000969 30-JUN-2009 07:30:44.57
   0021    0005          LIN    002 RGW_SND SEQ:0000969 30-JUN-2009 07:30:44.57
   0021    0006          LIN    002 RGW_ACK SEQ:0000969 30-JUN- 2009 07 : 30:58.48
   0022    0000          LIN    002 AU'l'_P~01 SEQ:0000227 30-JUN-2009 07 : 29:27.72
   0023    0000          LIN    002 A'O"r_POS'r_01 SEQ:0000227 30-JUN-2009 07:29:27 . 99 Dbt posted - tc: 5279j09063001
   0024    0000          QUE    002 PAYADVQ
   0025    0000          OI'R   002 PAYADV_LOG OPRID: $$$PAY          30-JUN-2009 07 : 29 :28.07
   0026    0000          BAL    002 *NOII'_BAL Amt: 50000
   0027    0000          SPB    002 SYSPRPBAL Amt: 50000
   0028    0000          BAL    002 *Gt. Amt : 50000
   0029    0000          SPB    002 SYSPRPBAL Amt: 50000
   0030    0001          QUE    002 *DS'l'
   0030    0002          QUE    002 *CO'l'
   0030    0003          QUE    002 WMSBUS66A_2Q
   0030    0004          LIN    002 WMS~F_SES SEQ : 000629 6 30-JUN-2009 07:29:27.85
   0030    0005          LIN    002 WMSA_II'_OU'l' SBQ : 0178902 30- JON-2009 07 : 29:27.85
   0030    0006          QUE    002 WMSA_l"_PNDQ         PDt1:0l; M'l':l031 DS'l':CllASUS33XXXX1 WJ:R:1
   0030    0007          LIN    002 WMSA_P_SES SB(!:0006296 30-JUN-2009 07 : 29:35,34 Ack MIR:090630WMSBt1S66AXXX6296:
   0030    0008          SWF    0 02 WMSA_P_SND      30 - JUN- 2009 07:29 : 35 , 34 090630WMSB~S66AXXX6296178902
   003 0   0009          GEN    0 02 SWF_DST_NDX          CHASUS33XXX
   0030    0010          QUE    002 VB4_MSGQ
   0030    0011          QUE    00 2 VB4_ACKPNDQ         >>>ISIACKPND0001992009063000000317VB4_0U'l'I*DLV IAMO CLUVl87P




http://prpc.jpmorgan.com/USDprweb/SSO/Gz3JJrF15nA%5B*/!STANDARD?pyPrimary...                                 1119/2011
        Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 32 of 34
Related Query ~g~1tt : 10-cv-04974-RJS Document 138-9 Filed 12/01/14 Page 4 C\igge 3 of3



   0030   001:2   QUE     002    DDA_POSTQ
   0030   0013    Q'O'E   002    RGW_OVTQ
   0030   oou     GEN     002    RGW_SRF          3000000317001013
   0030   0015    LIN     002    ODA_PDM_Ol SEQ:0000344 30-JON-2009 07:29:37.21
   0030   001 6   LIN     002    DDA_POST_ Ol     SEQ : 0000344 30-JUN-2009 07 :29:37 . 52 Dbt posted - tc : 5379!09063001
   0030   0017    LIN     002    VB4_0U'r SI!!Q : 0000199 30-JO'N-2009 07 : 30 : 46.69
   0030   0018    LIN     002    RGW_OUT SEQ:0001013 30 - JUN-2009 07 : 30:58.87
   0030   0019    LIN     002    RGW_SND SEQ:0001013 30-JUN-2009 07:30:58.87
   0030   0020    LIN     002    RGW_ACK SEQ:00010l3 30-JUN-2009 07 : 31:14.61
   0031   0000    MEM     0 02   *SYS_MEMO         cuat Format ID Changed Field 50 Name/ Addres s
   0032   0000    QUE     00:2   119_HDR             =
                                                / STP/     chkforl l9hdr parae 119:: f i eld
   0033   0000    QUE     002    DDA_BACKEND
   0034   0000    QUE     002    GL_BACKEND
   0035   0001    QUE            *DST
   0035   0002    QUE     002    RGW_OU'l'Q
   0035   0 003   GEN     00:2   RGW_SRF          3000000317000989
   0035   0004    LIN     002    RGW_OVT SEQ:0000989 30-JUN-2009 07 : 30:44.69
   0035   0005    LIN     002    RGW_SND SEQ:0000989 30-JUN-2009 07:30:44.69
   0035   0006    LIN     002    RGW_ACK SEQ:0000989 30-JUN-2009 07 : 30:58.58

                                                         Close




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Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 33 of 34
   Case 1:10-cv-04974-RJS Document 138-10 Filed 12/01/14 Page 1 of 4




                    Exhibit 10
              Case 1:13-cv-08012-CM-DCF Document 72-17 Filed 02/14/18 Page 34 of 34
Related Query<f&~utts:lO-cv-04974-RJS Document 138-10 Filed 12/01/14 Page 2lpt~e 1 of 3



        Funds Transfer Screen

 SENDER'S ID:            • • •8289
 TRAN REF#:              20090710-00000073


 **"'* MESSAGE ENVELOPE ****                             (BANK: 002)
                                               SND DATE : 09/ 07/ 10
 SRC:                    V84          CALLER:

 R?T#:                                AMT:
                                                     so,ooo.oo I
                                                     USD
 TYP:                    FTR/         FNDS:          s
 DB:                     y            CD:            y
 COM:                    N            CBL:           I
                                      FED
 FED IMAD:
                                      OMAD:




                                      CDT: . . . . . . . . . .~423
 DBT:IIIIIIIIIszsg                     ADV:S.W .I.F.T,
 DEBIT VAL: 09107110                  CREDIT VAL: 09107/10
 TING XU                              JPMC USD INTL WIRES
 8823 SPECTRUM CENTER                 1301 SECOND AVE
 BLVD APT 2113
 SAN DIEGO CA 92123-
                                      SEATTLE WA 98101
 1479



 SEND:    I                           INTER BK:     I
 SNDR REF
 NUM:4288228229703


                                      BNF BANK: S I
 ORDERING BANK:           I           BKCHCNBJ110
                                      BANK OF CHINA
                                      BEIJING CN



                                      BNF: I
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                                     . . . . . . . . . . . . . .5923
 TING XU                              MING ZHAO
 8823 SPECTRUM CENTER
                                      BEIJING
 BLVD APT 2113
 SAN DIEGO CA
                                      BEIJING CN
 921231479


 BEN TO BNK INFO: WFCI                ORIG TO BNF INFO:



              1   *F~R0000000026VB000141242882281000NRF                  OOOOOOOSOOOO,OOSP'TR   002NN
              2   2FTR                                             BEN
              3   4FTR                                                                             I
              4   ORGc
              5   -~ING       xtl'
              6   -8823 SPEC'l'RUM CENTER BLVD APT 2113
              7   -SAN DXEGO CA 921231479




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